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                       IN THE UNITED STATES DISTRICT COURT
                         STATE OF UTAH, CENTRAL DIVISION


 ESTATE OF PATRICK HARMON SR.;
 PATRICK HARMON II, as Personal                       Case No. 2:19-cv-00553-HCN-CMR
 Representative of the Estate of Patrick Harmon
 Sr., and heir of Patrick Harmon Sr., TASHA         ORDER GRANTING STIPULATED
 SMITH, as heir of Patrick Harmon, Sr.,            MOTION FOR EXTENSION OF TIME
                                                  FOR DEFENDANTS TO FILE REPLY TO
               Plaintiffs,                          MOTION TO RECONSIDER ORDER
                                                            OF REMAND
        vs.
                                                          Judge Howard C. Nielson, Jr.
 SALT LAKE CITY, a municipality; and
 OFFICER CLINTON FOX, in his individual               Magistrate Judge Cecilia M. Romero
 capacity,

               Defendants.


        Having considered the Parties’ Stipulated Motion for Extension of Time (“Motion”),

 (ECF No. 55) to file a Reply Memorandum to the Motion to Reconsider Order of Remand, (ECF

 No. 51), and for good cause appearing, the Court hereby GRANTS the Motion. Defendants may

 file their Reply to the Motion to Reconsider Order of Remand on or before March 2, 2022.

        IT IS SO ORDERED.

        DATED this ____ day of February, 2022.




                                            Magistrate Judge Cecilia M. Romero
                                            United States District Court for the District of Utah
